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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 Flava Works, Inc.,                         )
                                            )
                  Plaintiffs,               )
                                            )
              v.                            )
                                            )
 Marques Rondale Gunter                     )
 d/b/a myVidster.com, SalsaIndy, LLC, d/b/a )                 Case No. 1:17-cv-01171
 myVidster.com,                             )
                                            )
                  Defendants.


                            DEFENDANTS’ MOTION TO COMPEL

                Defendants, through their attorneys, move this Court for an Order compelling

Plaintiff Flava Works, Inc. to (1) respond to Defendants’ Interrogatories and (2) respond to

Defendants’ Requests for the Production of Documents. In support of this Motion, Defendants

state:

         1.     On July 2, 2018, Defendants served their First Set of Interrogatories and First Set

of Request for Production on Plaintiff. Plaintiff’s responses were therefore due on August 1, 2018.

         2.     Plaintiff failed to respond to Defendants’ written discovery requests. On or around

August 16, 2018, Defendants’ counsel reached out to Plaintiff’s counsel via telephone. Plaintiff’s

counsel indicated that Plaintiff would provide responses within a few days. Nonetheless, Plaintiff

still did not respond.

         3.     On August 24, 2018, Defendants’ counsel sent correspondence to Plaintiff again

requesting Plaintiff’s response to Defendants written discovery requests and informing Plaintiff

that if Plaintiff continued to fail to participate in the discovery process, Defendants would move

to compel Plaintiff’s participation.
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       4.      To date, Plaintiffs have failed to respond to a single Interrogatory or produce a

single document in response to Defendants’ written discovery requests of July 2, 2018.

       5.      Defendants will be actually and substantially prejudiced in defending or settling

this litigation unless this Court compels Plaintiff to respond to Defendants’ Written Discovery

Requests.

       6.      Discovery in this case is set to close on September 12, 2018. In light of Plaintiff’s

refusal to participate in the discovery process to date, Defendants request a 60-day extension of

the discovery period to allow adequate time for review of any discovery that Plaintiff produces as

a result of this motion.

       WHEREFORE, for the reasons set forth above and in Defendants’ accompanying

Memorandum in Support of this Motion, Defendants respectfully request that this Court grant

Defendants’ Motion to Compel Plaintiff Flava Works, Inc. to respond to Defendants’ Written

Discovery Requests promptly as set forth herein and extend the discovery period by 60 days, to

close on November 14, 2018.

 Dated: September 11, 2018                       Respectfully submitted,


                                                 /s/     Andrew S. Fraker
                                                 One of the Attorneys for Defendants

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                                                 Andrew S. Fraker
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                             CERTIFICATE OF SERVICE

             I, Andrew S. Fraker, an attorney, state that I served a copy of the foregoing
Defendants’ Motion to Compel upon:

                   Adam S. Tracy
                   The Tracy Firm Ltd.
                   141 W. Jackson Blvd.
                   Chicago, Illinois 60604



by the ECF system on September 11, 2018.



                                                       /s/    Andrew S. Fraker
                                                              Andrew S. Fraker




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